        Case 8:22-cv-02597-DKC         Document 21-1       Filed 11/11/22         Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

  MARYLAND CHAPTER OF THE SIERRA
  CLUB, et al.,
                     Plaintiffs,
       v.
                                                     Case No.: 8:22-cv-02597-DKC
  FEDERAL HIGHWAY ADMINISTRATION,
  et al.,
                     Defendants.



                         [PROPOSED ORDER]
  UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

       Upon consideration of the Unopposed Motion for Extension of Time to Respond to Complaint

(the “Motion”) of Defendants Maryland Department of Transportation and James F. Ports, Jr. (the

“State Defendants”), and good cause having been shown, it is, this ____ of November 2022, hereby

ORDERED that

       1.     The Motion is GRANTED; and

       2.     The time for the State Defendants to respond to the Complaint is extended to

              December 19, 2022.




                                                   Deborah K. Chasanow
                                                   United States District Judge
